                  Case 23-12386-EPK            Doc 2     Filed 03/29/23       Page 1 of 21




                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION
                                www.flsb.uscourts.gov
_____________________________________
                                          )
In re:                                    )
                                          ) Chapter 11
                                      1
Banyan Cay Resort & Golf, LLC, et al.     )
                                          ) Case No. 23-12386 (EPK)
                                          )
                   Debtors.               ) (Joint Administration Pending)
_____________________________________ )

                DECLARATION OF GERARD A. MCHALE, JR. IN SUPPORT
               OF THE CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

          I, Gerard A. McHale, Jr., pursuant to section 1746 of title 28 of the United States Code,

hereby declare that the following is true and correct to the best of my knowledge, information, and

belief, including the information included in the exhibit attached hereto:

                                                Background

          1.      My name is Gerard A. McHale, Jr. I am over the age of eighteen and am competent

to testify.

          2.      I act as the proposed chief restructuring officer (“CRO”) of each of the above-

captioned debtors and debtors in possession (the “Debtors”). I was retained on March 14, 2023,

effective as of February 28, 2023 and have worked expeditiously with the Debtors to prepare for

the commencement of these chapter 11 cases (the “Chapter 11 Cases”).




  1
      The Debtors are: (i) Banyan Cay Investment, LLC (Case No. 23-12390); (ii) Banyan Cay Mezzanine Borrower,
      LLC (Case No. 23-11281); (iii) Banyan Cay Resort & Golf LLC (Case No. 23-12386); (iv) Banyan Cay Dev.
      LLC (Case No. 23-12387); (v) Banyan Cay Villas, LLC (Case No. 23-12388); and (vi) Banyan Cay Maintenance,
      LLC (Case No. 23-12389). The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida
      33401.
               Case 23-12386-EPK          Doc 2        Filed 03/29/23   Page 2 of 21




       3.      The Debtors constitute a business enterprise that invests in, owns, and operates an

approximately 200-acre resort and golf complex in West Palm Beach, Florida called Banyan Cay

Resort & Golf Club, along with the ownership of certain real property incidental thereto and the

provision of services related thereto (the “Development”). The Debtors are nearing completion of

a 190-room hotel and resort portion of the Development (the “Hotel”) and anticipate that, without

the recent the interruptions in the Debtor’s operations and construction, that a temporary certificate

of occupancy (“TCO”) would have been issued within two more months of construction. As

described more fully below, the Debtors are optimistic that with “debtor in possession” funding

and the breathing room afforded to debtors under chapter 11, the Debtors will be in a prime position

to engage in a robust sales process for the almost-completed Hotel, golf course, development site

for 179 condominium units, villas, and all other real and personal property related thereto that will

maximize recoveries for all parties in interest.

                       A Rendering of the To-Be Completed Development




                                                   2
               Case 23-12386-EPK         Doc 2       Filed 03/29/23    Page 3 of 21




       4.      As the Debtors’ organizational chart, attached hereto as Exhibit A, demonstrates,

each of the Debtors are directly or indirectly owned by Debtor Banyan Cay Investment, LLC

(“Banyan Cay Investment”), a Florida limited liability company. Banyan Cay Investment is

presently a joint endeavor between ConsultEnergy, Inc.; Rough Rider Enterprises, LLC; DJG Dev.

LLC; Lexxcom LLC; 1900 Congress LLC; and Bellefrau Group, LLC.

       5.      I am familiar with and knowledgeable of the Debtors’ day-to-day operations,

business, and financial affairs, and books and records as they exist, as well as the circumstances

leading to the commencement of the Chapter 11 Cases.                    I submit this declaration

(this “Declaration”) to assist the Court and other parties in interest in understanding the

circumstances and events that led to the commencement of the Chapter 11 Cases and in support of

the motions and applications that the Debtors filed with the Court contemporaneously herewith,

including the “first-day” pleadings filed concurrently herewith (the “First Day Pleadings”). I am

authorized to submit this Declaration on behalf of the Debtors.

       6.      Except as otherwise indicated herein, the facts set forth in this Declaration are based

upon my personal knowledge, my review of relevant documents as they exist, information

provided to me by employees and/or management of the Debtors, my opinion based upon my

experience, knowledge, and information concerning the Debtors’ operations and financial

condition, or from my discussions with the Debtors’ proposed counsel, Pack Law. If called upon

to testify, I would and could testify competently to the facts set forth in this Declaration on the

basis of the information that I have gleaned from the sources listed above.

       7.      I am advised by counsel that this Court has jurisdiction over the Chapter 11 Cases

pursuant to 28 U.S.C. §§ 157 and 1334, and that venue is proper in the United States Bankruptcy

Court for the Southern District of Florida pursuant to 28 U.S.C. §§ 1408 and 1409.



                                                 3
                   Case 23-12386-EPK             Doc 2        Filed 03/29/23      Page 4 of 21




                                                  Introduction2

          8.       These bankruptcy cases are the culmination of a long and difficult process run by

the Debtors in an attempt to maximize value for all of their constituencies in the exercise of

appropriate fiduciary duties. The decision to file did not come lightly and the Debtors have spent

months exploring potential out-of-court and in-court solutions to maximize estate value.

Unfortunately, after many months of false starts, potential sales, and time-consuming and

expensive litigation prosecuted by the Debtors’ prepetition secured lender and EB-5 mezzanine

lender, it became clear that a chapter 11 filing and sale of assets pursuant to section 363 is the best

and only available avenue under the circumstances to provide potential recovery for creditors.

          9.       As described more fully below, “Banyan Cay” was conceptualized as a marque golf

course, Hyatt Destination resort, and master-planned community, occupying an enviable location

in West Palm Beach. The club, featuring a Jack Nicklaus® signature golf course, has been open

since 2017, with current golf course access membership of approximately 200 members.

Unfortunately, the hotel and planned community were never fully completed. A perfect storm of

unexpected events, including the Covid-19 pandemic and concomitant supply chain and

construction delays, contributed to cost-overruns, missed credit agreement milestones set forth by

the Debtors’ secured lender, Calmwater, causing financing and liquidity issues.

          10.      The story of Banyan Cay to date is one of a series of investors, many of whom rest

within one family, making whatever concessions were needed and undertaking any effort charged

to them to see this vision come to pass and see all stakeholders realize value. As explained herein,

however, no amount of good faith effort can overcome overriding economic forces.



  2
      Capitalized terms not otherwise defined in the Introduction have the meanings ascribed to such terms elsewhere
      herein.


                                                          4
               Case 23-12386-EPK          Doc 2       Filed 03/29/23   Page 5 of 21




       11.     Faced with the economic realities of the situation, over a year ago, the Debtors

began to develop and implement a sale process designed to pay their lenders in full, satisfy all

creditors, return equity investment, and preserve the standards and level of service for the

Development. This process included the retention of HWE after hiring HotelAVE (a company

ultimately installed at the request of the Debtors’ prepetition lender, Calmwater) to run a process

for which bids were due on or around July 2022 (at about the same time Calmwater initiated its

Foreclosure Action). That process resulted in a signed asset purchase agreement which would

have satisfied all of their obligations, paying all creditors in full and providing a return to their

preferred equity. Unfortunately, the changing credit markets and rising interest rates contributed

to the purchaser’s decision to exercise its termination right. The Debtors were left with few

alternatives in light of Calmwater’s prosecution of the Foreclosure Action, despite requests of the

Debtors to delay the litigation for a brief period of time to allow a constructive and cooperative

sale process to continue.

       12.     Although the Debtors thereafter entered into a reinstated asset purchase agreement

with that same purchaser at a significant reduction, consummation of a transaction with that

purchaser would ultimately prove impossible, particularly in light of the purchaser’s refusal to post

the required deposit, the continued accumulation of interest and fees caused by perpetual closing

delays, and the EB-5 Lender’s refusal to delay its UCC Sale of equity pledged thereto by Debtor

Banyan Cay Mezz Borrower. The Debtors’ grand dream of selling out of court was again thwarted.

       13.     While the Debtors’ secured lender have commenced proceedings and actions that

undoubtedly would benefit them if adjudicated to finality, the Debtors’ focus has been, and

continues to be, on a global strategy designed to maximize value for all stakeholders, including

secured creditors, unsecured creditors, and the mezzanine lender. To that end, after evaluating all



                                                  5
                  Case 23-12386-EPK        Doc 2       Filed 03/29/23    Page 6 of 21




of their potential alternatives and mounting liquidity needs, the Debtors, in the exercise of their

fiduciary duties, are firmly of the belief that a bankruptcy filing and sale of substantially all of the

Debtors’ assets pursuant to section 363 of the Bankruptcy Code is the only way to maximize value

for all constituencies.

                    The Debtors’ Prepetition Corporate and Capital Structure

    I.         Corporate Structure and History.

         14.      As set forth more fully in the Debtors’ organizational chart attached hereto as

Exhibit A, the Debtors are comprised of six entities that collectively own and operate the Banyan

Cay Resort & Golf Club in West Palm Beach, Florida. The Debtors first acquired the property

upon which the Development sits in August 2015 from Palm Tree Golf Management, LLC,

managed by George Elmore, for approximately $28,000,000.

         15.      Debtor Banyan Cay Resort & Golf, LLC is primarily responsible for the ownership,

management, and operation of the golf club and restaurant portion of the Development, and

oversaw the construction of the hotel portion of the Development. The golf club has been

operating since November 2017 in its current form and has garnered a reputation as a premier golf

club and mainstay of the community. For example, since opening in late 2017, the club has hosted

professionally-sanctioned tournaments, including the Honda Classic Open Qualifier of the South

Florida Section of the Professional Golfers’ Association of America (“PGA”), has hosted the Royal

Bank of Canada Wealth Management High Net Worth Tournament, attended by several PGA tour

players including some of the best players in the world, and engaged in robust community work,

including hosting first responders meetings for local fire fighters, police, and nurses, and extensive

support of the Hope for Warriors program, through which the club allows wounded veterans to

play on course and attend clinics and lessons sponsored by the club. Before the most recent season

renewal, the club supported an impressive 236 members, and despite the recent financial and
                                                   6
                  Case 23-12386-EPK            Doc 2       Filed 03/29/23     Page 7 of 21




construction difficulties (and associated negative press), maintains a membership of approximately

200 members. The Debtor entity has negotiated and secured a deal to flag the to-be-completed

hotel property as a Hyatt under Hyatt Corporation’s upper-upscale and luxury “Destination Hotels”

brand, which program will allow the site to maintain the Banyan Cay name and associated market

recognition, while simultaneously benefitting from the reservation and marketing resources Hyatt

has to offer.

          16.     Debtor Banyan Cay Villas, LLC is primarily responsible for the ownership and

development of certain duplex units to-be constructed on the lots directly adjacent to the resort

portion of the Development, called the “Villas.” The Villas are scheduled to be comprised of

eleven total buildings, each with a pair of two-story units of 2,200 square feet each.

          17.     Debtor Banyan Cay Dev. LLC was initially formed to accomplish the acquisition

of the Development property and serve as the master developer. Currently, the material assets of

this Debtor entity include twenty-eight lots zoned for single-family development, and a “condo

pad” zoned for 179 units.

          18.     Debtor Banyan Cay Maintenance, LLC owns certain real property in the

Development that is not encumbered by the Calmwater loan, including the maintenance parcel

related thereto, and provides access to such maintenance parcel to the operating Debtors.

          19.     Debtor Banyan Cay Investment directly owns Debtor Banyan Cay Mezz Borrower,

and in its current form serves as a joint venture between two classes of members: (a) Class A

members; DJG Dev. LLC,3 a Florida corporation with a 70.25% total ownership interest in Banyan




  3
      Member DJG Dev. LLC’s ultimate beneficial owner is Domenic Gatto, Jr.


                                                       7
                    Case 23-12386-EPK            Doc 2        Filed 03/29/23      Page 8 of 21




Cay Investment; and Lexxcom LLC,4 a Florida limited liability company with a 20% total

ownership interest; and (b) Class B (non-voting) members; 1900 Congress LLC,5 a Florida limited

liability company with a 5% total ownership interest; Rough Rider Enterprises, LLC, a Texas

limited liability company with a 3.25% total ownership interest; Bellefrau Group, LLC, a Florida

limited liability company with a 1% total ownership interest; and ConsultEnergy, Inc., a Florida

corporation with a .5% total ownership interest. Class B members contributed preferred equity to

Banyan Cay Investment to fund certain equity benchmark requirements (as described in greater

detail below) toward the end of 2020 and beginning of 2021, and benefit from priority distributions

over the Class A members.

           20.      Effective February 28, 2023, I was retained by the Debtors to serve as proposed

Chief Restructuring Officer for each of the Debtor entities in connection with the preparation for

and the oversight of these Chapter 11 Cases.

     II.         Prepetition Capital Structure.

           21.      The Debtors’ capital structure is relatively straightforward and consists of secured

debt, unsecured debt, and equity.

           A. Secured Debt.

           22.      The Debtors’ secured debt consists primarily of a first-lien, secured loan on

substantially all of the Debtors’ assets (other than Banyan Cay Mezzanine Borrower, LLC and

Banyan Cay Maintenance, LLC) presently owned by U.S. Real Estate Credit Holdings III-A, LP,



 4
     It is my understanding that Lexxcom LLC is an affiliate of Jacobs Industries, LLC, the general contractor of the
     development, through its principal, Donald Perry, which general contractor allegedly released some liens in
     exchange for the provision of equity to Lexxcom LLC. I have not had the opportunity to review this transaction
     in detail, and the Debtors reserve all rights with respect thereto.
 5
     In the interest of full disclosure, it is my understanding that the principal of 1900 Congress LLC, is Domenic
     Gatto, Sr.


                                                          8
               Case 23-12386-EPK          Doc 2       Filed 03/29/23    Page 9 of 21




an Irish limited partnership (the “Prepetition Lender” or “Calmwater”), in the principal aggregate

amount of $95,084,509.61 which amount was fixed by judgment (the “Foreclosure Judgment”) in

that certain foreclosure action that was commenced by the Prepetition Lender against the Debtors

and certain non-debtor affiliates in the Fifteenth Judicial Circuit Court, in and for Palm Beach

County, Florida, Case No. 50-2022-CA-006815-XXXX-MB, styled as U.S. Real Estate Credit

Holdings III-A, LP v. Banyan Cay Resort & Golf, LLC, et al. (the “Foreclosure Action”). The

Foreclosure Judgment bears interest at the prevailing statutory legal rate of interest from the date

thereof, February 28, 2023.

       23.     The Foreclosure Judgment stems from a series of loans made by the Prepetition

Lender for the benefit of the Debtors. Specifically, on June 14, 2018, the Prepetition Lender and

Debtor Banyan Cay Dev. LLC entered into an agreement (with subsequent amendments and

modifications from time to time) for a $61,000,000 construction loan for, inter alia, the

construction of the resort portion of the Development. Additionally, on September 30, 2020, the

Prepetition Lender and the Debtors entered into a further agreement for a $19,000,000 loan and

recapitalization (which loan was thereafter increased to the principal amount of $33,000,000) to

secure continued access to the Prepetition Lender’s prior commitments and to further fund the

construction of the Development and the Villas portion thereof. A more detailed description of the

prepetition loan documents, the various amendments and modifications thereto, the specific of the

various collateral therefor, the conduct of the parties with respect thereto, and the ultimate entry of

the Foreclosure Judgment therefor can be found in the Prepetition Lender’s complaint

(the “Foreclosure Complaint”) filed in the Foreclosure Action on July 16, 2022.

       24.     In addition to the secured claim of the Prepetition Lender, the assets of Debtor

Banyan Cay Mezzanine Borrower, LLC (“Banyan Cay Mezz Borrower”), comprising solely of the



                                                  9
              Case 23-12386-EPK         Doc 2     Filed 03/29/23     Page 10 of 21




equity interests in Debtors Banyan Cay Resort & Golf LLC; Banyan Cay Dev. LLC; and Banyan

Cay Villas, LLC; are subject to a security interest owned by Banyan Cay Resort Fund LLC, the

Debtors’ EB-5 lender (the “EB-5 Lender”), in the amount of $5,000,000. As explained in greater

detail in the sections below, the EB-5 Lender was originally going to fund the vertical construction

of the entire development plan, however when it became apparent in 2016 that it would be unable

to do so, the Debtors were required to enter the capital markets and secure financing from

elsewhere, thus leading to the loan agreements with the Prepetition Lender, Calmwater.

Nevertheless, the sum of $5,000,000 from the EB-5 Lender was already in escrow from the prior

efforts to raise capital, and such funds were drawn upon in 2020 as part of the recapitalization of

the Calmwater loan.

       25.     Apart from the Prepetition Lender and the EB-5 Lender, the Debtors’ property is

subject to various other liens asserted by subcontractors of the Debtors’ general contractor, Jacob

Industries, LLC. The vast majority of these liens are asserted against property owned by Banyan

Cay Resort & Golf LLC, however some are asserted against property owned by Banyan Cay Dev.

LLC. In addition to these construction lienholders the only other secured creditors and mortgage

holders of the Debtors are (i) Bellefrau Group, LLC, which holds a mortgage on certain parcels of

real property presently owned by Debtor Banyan Cay Maintenance, LLC; and (ii) ZJC, LLC,

which holds a mortgage on a separate parcel owned by Debtor Banyan Cay Maintenance, LLC.

       B. Unsecured Debt and Equity.

       26.     The Debtors’ unsecured debt primarily consists of vendor payables, and the

Debtors’ equity consists of those membership interests described in the Chapter 11 Petition

[Docket No. 1], the Debtors’ Corporate Ownership Statement filed contemporaneously herewith,

and the Debtors’ List of Equity Security Holders filed contemporaneously herewith.



                                                10
              Case 23-12386-EPK            Doc 2     Filed 03/29/23      Page 11 of 21




III.   The Debtors’ Assets.

       27.        The Debtors’ principal balance sheet assets are the Hotel, the golf course, the Villas

property, the development site for 179 condominium units, the twenty-eight single-family lots, and

all other real property and personal property related thereto comprising the Development located

throughout the various properties owned by the Debtors. In addition, it is my understanding that

the Debtors have cash in the amount of approximately $500,000, presently secured in a lockbox

controlled by the Prepetition Lender.

       28.        I am also currently reviewing, among other things, the Debtors’ books and records

as they exist, certain documents, and various other information to ascertain whether the Debtors

have any claims or causes of action against third parties. I anticipate that my review will continue

after the filing of these Chapter 11 Cases to ensure that potential assets of the Debtors’ estates are

preserved and maximized for stakeholders.

IV.    Key Events Leading to the Chapter 11 Cases.

       A. The Debtors Engaged Calmwater as Prepetition Lender.

       29.        When the Debtors determined that the EB-5 Lender would not be able to function

as the source of funding for the vertical construction of the Development, the Debtors (with the

assistance of brokers) went into the capital markets to secure funding in 2017. It was in this process

that the Debtors found Calmwater and first began negotiations with their soon-to-be prepetition

secured lender.

       30.        Calmwater immediately became incredibly involved in the Debtors’ projects,

becoming part of the entire budgeting process. Thus, in early 2018, Calmwater, the Debtors, and

Noble House Hotels & Resorts (“Noble House,” the entity that was to manage the entire hotel

construction process) created the budget for the loan and construction process. While disputes



                                                   11
              Case 23-12386-EPK         Doc 2    Filed 03/29/23     Page 12 of 21




regarding the budget arose, the parties eventually agreed to a budget, which enabled the loan to

close in June 2018.

       31.     Under the agreement with Noble House, in exchange for Noble House taking total

responsibility for the construction and operations of Debtor Banyan Cay Resort & Golf LLC,

Noble House received ten percent (10%) of that entity.

       32.     While construction began under Noble House in 2018, it soon became evident that

it was not up to the task. Plagued with misplanning issues ranging from discrepancies with hotel

room heights to provisions for a luxury resort pool that did not go deeper than a meager 2.5 feet,

the Debtors realized that Noble House was not equipped to handle the ground-up construction and

management necessary for this project. As the Debtors began to contemplate how to efficiently

and expeditiously sever the relationship and salvage the project, Noble House itself sent the

Debtors a termination in January of 2019.

       33.     The 10% equity interest of Noble House made its exit a difficulty for the Debtors,

which now had to not only figure out how best to get construction back on track and save face with

their lender, but also how to reacquire the equity interest from Noble House. The Debtors

subsequently implemented a plan to secure the Hyatt flag, hire a different construction manager,

and require the 10% equity interest.

       B. The 2020 Recapitalization with Calmwater.

       34.     In late 2020, the Debtors and Calmwater returned to the negotiation table to salvage

their relationship and get the construction project back under control. Through these negotiations,

Calmwater put forward a plan for the provision of further funding that contained various

milestones, including the Debtors’ securing of further significant equity contributions, an

expedited timetable (such as the requirement that the Debtors receive a final TCO by December

15, 2021), and the imposition of a new management company and management agreement
                                                12
               Case 23-12386-EPK        Doc 2     Filed 03/29/23     Page 13 of 21




explicitly approved of by Calmwater (which management agreement would ultimately be entered

into with Benchmark).       With construction delays mounting, the Debtors agreed to the

recapitalization.

       35.     After agreeing to the recapitalization of the Calmwater loan and closing on the deal

in late September 2020, the Debtors spent the next several months working to meet Calmwater’s

milestones and to raise the necessary funds to access the recapitalized deal.

       36.     Specifically, the Debtors’ management and members created a new Class B

membership interest in Banyan Cay Investment, which Class B membership benefits from

preferred liquidation and distribution rights. The preferred equity came in the form of an initial

$2,000,000 investment from Rough Rider Enterprises LLC on November 16, 2020, which initial

investment was increased by an additional $500,000 on September 22, 2020 and a further $750,000

on March 25, 2021; an initial $250,000 investment from ConsultEnergy, Inc. on November 27,

2020, which initial investment was increased by an additional $250,000 on March 18, 2021; an

initial $4,500,000 investment from 1900 Congress LLC on January 1, 2021, which initial

investment was increased by an additional $500,000 on October 22, 2021; and an initial

$1,000,000 investment from Bellefrau Group, LLC in October 2021. Over the course of 2020 and

2021, the Debtors raised a total of approximately $9.75 million in the form of preferred equity.

       37.     In addition to the non-Calmwater funding that the Debtors secured as preferred

equity investment, the Debtors also secured $6.8 million in Community Development District

(“CDD”) funding and gained access to $5 million of the anticipated $60 million from the EB-5

Lender.

       C. The Eventual Cessation of Construction and the Calmwater Foreclosure.

       38.     Through the beginning of 2021, the project was back in full swing and the Debtors

were meeting the milestones implemented by Calmwater in the 2020 recapitalization, including
                                                13
              Case 23-12386-EPK         Doc 2    Filed 03/29/23     Page 14 of 21




the institution of Benchmark as an outside management company, and the Debtors were optimistic

that both the Calmwater relationship and the Development as a whole could be saved.

       39.     Unfortunately, in April 2021, the Debtors’ then-manager Domenic Gatto, Jr. came

under criminal investigation by various governmental entities in connection with matters wholly

unrelated to the Debtors, the Development, or any of the Debtors’ properties. Mr. Gatto went

personally to inform Calmwater of this investigation and to make himself available to answer any

questions, assuage any concerns, and make any needed concessions.

       40.     Through June, July, and August 2021, the Debtors undertook effort to save face

with Calmwater, including the replacement of Mr. Gatto by Ms. Pillar, another member of the

Gatto family, for the Debtors’ management, the onboarding of hotelAVE as an independent asset

manager and consultant, the firing of the existing construction manager and the hiring of Fulcrum

as replacement construction manager, and the hiring of Benchmark as management company, all

at Calmwater’s request.

       41.     With the many shakeups in the Development, and as the December final TCO

deadline drew nearer, Calmwater eventually agreed with the Debtors that the December 2021 final

TCO was not possible. This set the stage for two further modifications to the 2020 loan agreement.

The first modifiaction, in September 2021, in addition to increasing the principal amount from

$19,000,000 to $24,000,000, extended the TCO deadlines to require a temporary TCO by January

31, 2022 and a final TCO by May 31, 2022. The second modification, which closed December

31, 2021, further increased the principal amount to $33,000,000 and extended the deadline to

receive the temporary TCO to April 30, 2022.

       42.     Despite the efforts of the Debtors, a temporary TCO was not able to be issued before

the April 30 deadline. As a result, the final draw from the Calmwater loan occurred on April 26,



                                                14
              Case 23-12386-EPK         Doc 2     Filed 03/29/23     Page 15 of 21




2022, Calmwater shortly thereafter sent a notice of default to the Debtors, and eventually filed the

Foreclosure Complaint on July 16, 2022.

       43.     The Foreclosure Action eventually resulted in the entry of the Foreclosure

Judgment in the amount of $95,084,509.61 on February 28, 2023, and the scheduled sale of the

Debtors’ assets. Moreover, on March 24, 2023, in the midst of extensive negotiations and on the

eve of bankruptcy, Calmwater filed a motion in the Foreclosure Action seeking to modify the

Foreclosure Judgment to include an additional approximately $1.8 million comprised of additional

note interest, default note interest, post-judgment statutory interest, attorneys’ fees covering

periods both before and after the entry of the Foreclosure Judgment, appraisal fees, and the so-

called “Exit Fee” contained in the Calmwater loan documents.

       D. The EB-5 Lender Dispute, Scheduled UCC Sale, and Banyan Cay Mezz
          Borrower’s Bankruptcy Filing.

       44.     Concomitantly with the breakdown of discussions and the eventual Foreclosure

Action against the Debtors by Calmwater, as well as the operational and development difficulties

associated therewith, the Debtors soon found themselves saddled with maturity of the EB-5

Lender’s loans with no liquidity and even larger financial strains due to the Foreclosure Action.

       45.     In connection therewith, the EB-5 Lender sent formal notices of default and began

efforts to schedule a strict foreclosure sale of the equity pledged by Banyan Cay Mezz Borrower

on account of the EB-5 loan, the equity interests in: (i) Debtor Banyan Cay Resort & Golf, LLC;

(ii) Debtor Banyan Cay Villas, LLC; and (iii) Debtor Banyan Cay Dev. LLC. The EB-5 Lender

proceeded to schedule a UCC public auction sale of the pledged equity for February 17, 2023

(the “UCC Sale”).

       46.     Because the Debtors were already engaged in sale efforts and preparing for these

Chapter 11 Cases with the hope of maximizing recovery to all creditors and stakeholders, not just

                                                15
              Case 23-12386-EPK          Doc 2     Filed 03/29/23     Page 16 of 21




the select few seeking to extract value through their own individual remedies, the Debtors knew

that allowing the UCC Sale to occur would have disastrous effects on the Debtors’ marketing and

restructuring efforts. Accordingly, on February 16, 2023, in order to stave off the UCC Sale and

vindicate the Debtors’ rights, as well as those of all of its creditor constituencies, Debtor Banyan

Cay Mezz Borrower filed its voluntary petition for relief under chapter 11 of the Bankruptcy Code,

commencing Case No. 23-11281 before this Court, with the promise that the rest of its debtor

family would soon be following it with a clear path forward that maximizes the value of the

Debtors’ estates for all parties in interest.         With the filing of the remaining Debtors

contemporaneously herewith, together with the Debtors’ acquisition of a stalking horse bidder and

a proposed sale process that is poised for great success, this promise has been fulfilled.

      E. The Debtors’ Unsuccessful Prior Sale Processes.

       47.     In June 2022, shortly before the initiation of the Foreclosure Action, the Debtors

engaged Hodges Ward Elliott (“HWE”), a well-known broker in the hospitality arena, to run a

competitive and expedited sale process, which could hopefully bring finality to the disputes

between the Debtors and their secured creditors. The sale process was placed on a fast-track in

light of the breakdowns with Calmwater and the EB-5 Lender, and it contemplated receiving final

bids by July of that year, diligence to be completed in August, and final closing in September.

       48.     While the proposed sale process was proceeding on schedule, Calmwater

nevertheless filed the Foreclosure Action and in July 2022 filed an emergency motion to appoint a

receiver. While this request for a receiver was not ultimately granted by the court, the Debtors

believe that the request, as well as the continued Foreclosure Action itself, hurt the sale process.

       49.     On September 16, 2022, the Debtors entered into a purchase and sale agreement

with an entity called 2020 Banyan LLC to sell almost all of the real property of the Debtors. After



                                                 16
               Case 23-12386-EPK         Doc 2     Filed 03/29/23     Page 17 of 21




several rounds of negotiation, the purchaser thereunder failed to replenish the deposit when it

became due on February 16, 2023, allegedly due to the impending UCC Sale that the EB-5 Lender

refused to postpone.

       50.     With the onslaught of ongoing litigation amongst all the parties, including actions

brought by the EB-5 Lender against Calmwater for alleged breaches of an intercreditor agreement,

the sale failed to close and it became clear that the only path forward was chapter 11.

      F. Next Steps, and the Commencement of the Chapter 11 Cases.

       51.     I am firmly of the belief that the Debtors’ best chance of maximizing value for its

various constituencies is the chapter 11 proceedings, through which the Debtors’ plan is to

(a) secure postpetition financing that will facilitate the club remaining open with continued

employment and a level of service to the members that they have grown accustomed to, and (b)

prepare the Development for a competitive and robust bidding process to actualize its value

through a plan of reorganization that maximizes value to the Debtors, their estates, their creditors,

and all of their stakeholders.

       52.     In that regard, on March 16, 2023, I authorized the Debtors to engage Keen-Summit

Capital Partners LLC (“Keen-Summit”) to market the Development for sale, either in one

transaction or a series of transactions. As a result of that process, Keen-Summit has already

received numerous indications of interest and a number of offers to be a “stalking horse” purchaser

for some or substantially all of the Debtors’ property. As of the date hereof, I am working diligently

with Keen-Summit and the Debtors’ proposed restructuring counsel, Pack Law, to finalize the

terms and conditions of certain agreements that will be presented to the Court as part of a motion

to, among other things, approve bidding and sale procedures. I further anticipate that these




                                                 17
              Case 23-12386-EPK          Doc 2      Filed 03/29/23    Page 18 of 21




“stalking horse” transactions will provide for sales proceeds well in excess of all secured debt

encumbering the Debtors’ assets.

       53.     I am also currently reviewing a number of offers for “debtor in possession” (“DIP”)

financing that will provide the Debtors with sufficient liquidity to run a thorough sale process,

allow the Debtors to remain current with necessary post-petition operating expenses, and cover

certain administrative costs associated the Chapter 11 Cases. In this regard, I am in discussions

with Calmwater regarding a DIP and believe that financing from Calmwater would be the most

efficient means of obtaining liquidity; however, I am also entertaining competitive offers from

third party lenders that would require a “priming lien” and believe that there is a sufficient basis

under the current facts and circumstances to obtain such a lien pursuant to the applicable provisions

of the Bankruptcy Code and orders of this Court.

       54.     With such a plan in place, I am confident that the Chapter 11 Cases will provide the

best venue to monetize the Debtors’ assets and provide the maximum recovery to the Debtors’

stakeholders in an efficient and orderly process.

                                The Debtor’s First Day Pleadings

       55.     The First Day Pleadings seek relief to allow the Debtors to meet necessary

obligations and fulfill their duties as debtors in possession. I have been advised of the relief

requested in the First Day Pleadings filed contemporaneously herewith and believe that the relief

sought in each First Day Pleading is necessary to enable the Debtors to operate in chapter 11 with

minimal disruption or loss of productivity and value and best serves the Debtors’ estate and

creditors’ interests. The facts set forth in each First Day Pleading are incorporated herein by

reference. The First Day Pleadings include the following:




                                                 18
               Case 23-12386-EPK         Doc 2     Filed 03/29/23      Page 19 of 21




             a. Debtors in Possession’s Application for Employment of McHale, P.A. as Chief
                Restructuring Officer Effective as of March 29, 2023 (the “McHale Retention
                Application”);

             b. Debtors in Possession’s Application for Employment of Pack Law as Counsel
                Effective as of March 29, 2023 (the “Pack Law Retention Application”);

             c. Debtor in Possession’s Application for Employment of Keen-Summit Capital
                Partners LLC as Marketing Agent and Broker (the “Keen-Summit Retention
                Application”);

             d. Debtors’ Emergency Ex Parte Motion For Joint Administration of Bankruptcy
                Estates and Request For Expedited Consideration (the “Joint Administration
                Motion”);

             e. Debtors’ Ex Parte Motion For Authorization to File Consolidated Chapter 11 Case
                Management Summary (the “Consolidated Case Management Motion”); and

             f. Debtors’ Motion for Entry of an Order Authorizing the Debtors to File a
                Consolidated Creditor Matrix and Consolidated List of the Top Thirty Unsecured
                Creditors (the “Consolidated Creditor List Motion”).

       56.      In addition to these pleadings, I have been advised that the Debtors shall file

additional pleadings that shall seek authority to, among other things, honor employee-related

wages and benefit obligations, use cash collateral, acquire post-petition financing, approve a

stalking horse asset purchase agreement, approve bid and sale procedures, maintain other

operations in the ordinary course of business, and attend to various administrative matters related

to the Chapter 11 Cases themselves. I believe all relief sought in the First Day Pleadings and these

subsequent pleadings to-come are critical to the continued success of the Debtors during the

Chapter 11 Cases and ultimately, of important benefit to all stakeholders.

       57.      Of these to-be-filed pleadings, some will request authority to pay certain prepetition

claims against the Debtors. I understand that Rule 6003 of the Federal Rules of Bankruptcy

Procedure provides, in relevant part, that the Court shall not consider motions to pay prepetition

claims during the first 21 days following the filing of a chapter 11 petition, “except to the extent

relief is necessary to avoid immediate and irreparable harm.” In light of this requirement, the

                                                 19
              Case 23-12386-EPK          Doc 2    Filed 03/29/23    Page 20 of 21




Debtors shall narrowly tailor their requests for immediate authority to pay certain prepetition

claims to those circumstances where the failure to pay such claims would cause immediate and

irreparable harm to the Debtors and its estate. The Debtors will defer seeking other relief to

subsequent hearings before the Court.

       58.     The above describes the Debtor’s business and capital structure, the factors that

precipitated the commencement of the Chapter 11 Cases, and the critical need for the Debtors to

obtain the relief sought in the First Day Pleadings.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

       Dated: March 29, 2023

                                         By: /s/ Gerard A. McHale
                                         Name: Gerard A. McHale, Jr. of McHale, P.A.
                                         Title: Proposed Chief Restructuring Officer
                                         1601 Jackson Street, Suite 200
                                         Fort Myers, FL 33901




                                                 20
Case 23-12386-EPK     Doc 2   Filed 03/29/23   Page 21 of 21




                         Exhibit A

                    Organizational Chart
